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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 L.M.-M., et al.,

        Plaintiffs,
                                                        Civil Action No. 1:19-cv-02676
        v.                                              (RDM)

 Kenneth T. Cuccinelli II, et al.,

        Defendants.


                                     JOINT STATUS REPORT
       The parties respectfully submit the following joint status report pursuant to the Court’s July

28, 2021 Minute Order. The parties are conferring to determine the appropriate method of

resolving this case, and request an additional week to facilitate those discussions. The parties

therefore request that the Court order the submission of an additional joint status report on August

18, 2021.

Dated: August 11, 2021                               Respectfully submitted,

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